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      A.     Background on the Federal Child Nutrition Program

      2.     The Food and Nutrition Service is an agency of the United States

Department of Agriculture (USDA) that administers various federal child nutrition

programs, including the Summer Food Service Program and Child and Adult Care

Food Program (together, the “Federal Child Nutrition Program”).

      3.     The Summer Food Service Program is a federal program established to

ensure that children continue to receive nutritious meals when school is not in

session. The Summer Food Service Program reimburses non-profit organizations and

other participating entities that serve free healthy meals and snacks to children and

teens in low-income areas.

      4.     The Child and Adult Care Food Program is a federal program that

reimburses non-profit organizations and other participating entities that serve

healthy meals and snacks to children and adults at participating child care centers,

day care homes, and after-school programs.

      5.     The Federal Child Nutrition Program operates throughout the

United States. The USDA’s Food and Nutrition Service administers the programs at

the national and regional levels by distributing federal funds to state governments,

which provide oversight over the Federal Child Nutrition Program.

      6.     The Minnesota Department of Education (MDE) administers the

Federal Child Nutrition Program in Minnesota.

      7.     Meals funded by the Federal Child Nutrition Program are served by

“sites.” Each site participating in the Federal Child Nutrition Program must be

sponsored by a sponsoring organization that is authorized to participate in the



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Federal Child Nutrition Program. Sponsors are required to submit an application to

MDE for each site. Sponsors are responsible for monitoring each of their sites and

preparing reimbursement claims for their sites.

      8.     Sponsors submit reimbursement claims to MDE on behalf of sites under

their sponsorship. The USDA then provides federal reimbursement funds on a

per-meal basis. MDE provides the federal funds to the sponsoring agency, which in

turn pays the reimbursements to the sites under its sponsorship. The sponsoring

agency retains 10 to 15 percent of the funds as an administrative fee in exchange for

sponsoring the sites, submitting reimbursement claims, and disbursing the

federal funds.

      9.     Historically, the Federal Child Nutrition Program has generally

functioned by providing meals to children involved in educational-based programs or

activities. During the Covid-19 pandemic, however, the USDA waived some of the

standard requirements for participation in the Federal Child Nutrition Program.

Among other things, the USDA allowed for-profit restaurants to participate in the

program. The USDA also allowed for off-site food distribution to children outside of

educational programs. At the same time, the state government’s stay-at-home order

and telework policies made it for difficult to oversee the program. These changes left

the program vulnerable to fraud and abuse.

      B.     Feeding Our Future

      10.    Feeding Our Future was a non-profit organization purportedly in the

business of helping community partners participate in the Federal Child Nutrition

Program. Aimee Bock was the founder and executive director of Feeding Our Future.



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      11.    Prior to the onset of the Covid-19 pandemic, Feeding Our Future was a

small non-profit that sponsored the participation of daycares and after-school

programs in the Federal Child Nutrition Program.

      12.    Beginning in approximately        April 2020,     Feeding   Our Future

dramatically increased the number of sites under its sponsorship as well as the

amount of Federal Child Nutrition Program funds received by those sites.

Feeding Our Future went from receiving and disbursing approximately $3.4 million

in federal funds to sites under its sponsorship in 2019 to nearly $200 million in 2021.

      13.    Bock oversaw a massive scheme to defraud carried out by sites under

the sponsorship of Feeding Our Future. Bock and Feeding Our Future sponsored

entities that submitted fraudulent reimbursement claims and fake documentation.

Bock and her company sponsored the opening of nearly 200 Federal Child Nutrition

Program sites despite knowing that the sites intended to and did submit fraudulent

claims.

      14.    In exchange for sponsoring the sites’ fraudulent participation in the

program, Feeding Our Future received nearly $18 million in Federal Child Nutrition

Program funds as administrative fees in 2021. Because the amount of administrative

fees it received was based on the amount of federal funds received by sites under its

sponsorship, Feeding Our Future received tens of millions of dollars in administrative

fees to which it was not entitled due to its sponsorship and facilitation of sites

fraudulent participating in the program.

      15.    In addition to receiving tens of millions in administrative fees, Feeding

Our Future employees also solicited and received bribes and kickbacks from



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individuals and sites under the sponsorship of Feeding Our Future. In effect, Feeding

Our Future operated a pay-to-play scheme in which individuals seeking to operate

fraudulent sites under the sponsorship of Feeding Our Future had to kick back a

portion of their fraudulent proceeds to Feeding Our Future employees. Many of these

kickbacks were paid in cash or disguised as “consulting fees” paid to shell companies

created by Feeding Our Future employees to conceal the true nature of the payments

and make them look legitimate.

      C.     The Defendants and Their Roles

      16.    Defendant MOHAMED ALI HUSSEIN was the president and owner of

Somali American Faribault Education (“SAFE”), a non-profit organization located in

Faribault, Minnesota. SAFE operated a Federal Child Nutrition Program site under

the sponsorship of Feeding Our Future.

      17.    Defendant LUL BASHIR ALI was the owner of Lido Restaurant, a small

storefront restaurant located in Faribault, Minnesota. Lido Restaurant operated a

Federal Child Nutrition Program site under the sponsorship of Feeding Our Future.

Lido Restaurant also participated in the Federal Child Nutrition Program as a meal

vendor that purported to provide and serve meals at the SAFE site.

      18.    Abdikerm Abdelahi Eidleh was a Feeding Our Future employee who

solicited and received bribes and kickbacks from individuals and companies involved

in the Federal Child Nutrition Program under the sponsorship of Feeding Our

Future.




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                                      Count 1
                         (Conspiracy to Commit Wire Fraud)

      19.    From in or about April 2020 through in or about 2022, the defendants,

                          MOHAMED ALI HUSSEIN and
                              LUL BASHIR ALI,

conspired with each other, and others known and unknown to the grand jury, to

devise a scheme and artifice to defraud and to obtain money by materially false and

fraudulent pretenses, representations, and promises, and for the purpose of executing

such scheme and artifice, transmitted or caused to be transmitted writings, signs,

signals, pictures, or sounds by means of wire, radio or television communication in

interstate or foreign commerce, in violation of Title 18, United States Code,

Sections 371 and 1343.

                     Object and Purpose of the Conspiracy

      20.    The object and purpose of the conspiracy was to carry out a fraud scheme

to obtain Federal Child Nutrition Program funds by submitting fraudulent claims

that they were serving meals to hundreds or thousands of children a day.

                     Manner and Means of the Conspiracy

      21.    The conspirators used the following manner and means, among others,

to accomplish the objects and purpose of the conspiracy:

             a.    HUSSEIN enrolled SAFE in the Federal Child Nutrition Program

under the sponsorship of Feeding Our Future.

             b.    HUSSEIN falsely claimed that the SAFE site was serving meals

to as many as 2,500 children a day, seven days a week. In support of these claims,




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HUSSEIN submitted, and caused to be submitted, fake attendance rosters and

invoices.

             c.    ALI enrolled Lido Restaurant in the Federal Child Nutrition

Program under the sponsorship of Feeding Our Future.

             d.    ALI falsely claimed that the Lido Restaurant site was serving

meals to as many as 1,600 children a day, seven days a week. In support of these

claims, ALI submitted, and caused to be submitted, fake attendance rosters and

invoices.

             e.    Lido Restaurant also entered into a catering contract under which

it received Federal Child Nutrition Program reimbursement funds for providing

meals to be served at the SAFE site.

             f.    ALI claimed that Lido Restaurant served more than 700,000

meals to children between June 2020 and April 2021. Based on these fraudulent

claims, HUSSEIN and ALI received more than $2.3 million in Federal Child

Nutrition Program funds.

             g.    HUSSEIN claimed that SAFE provided more than 1.2 million

meals to children between February and November 2021.

             h.    In all, HUSSEIN and ALI received more than $5 million in

Federal Child Nutrition Program funds as part of the fraud scheme.

             i.    As part of this scheme, HUSSEIN paid more than $100,000 in

kickbacks to Abdikerm Eidleh in exchange for Feeding Our Future’s sponsorship of

HUSSEIN and ALI’s participation in the Federal Child Nutrition Program.




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                      Acts in Furtherance of the Conspiracy

      22.     In furtherance of the conspiracy and to effect its unlawful objectives, the

defendants committed and caused to be committed the following overt acts, among

others, in the State and District of Minnesota, and elsewhere:

      23.     On or about June 19, 2020, ALI and Aimee Bock submitted an

application to enroll Lido Restaurant as a site in the Federal Child Nutrition Program

under the sponsorship of Feeding Our Future.

      24.     On or about November 3, 2020, ALI sent Eidleh an email containing

meal count forms claiming that the Lido Restaurant site had served breakfast and

lunch to approximately 1,000 children a day, seven days a week, in October 2020.

      25.     On or about November 30, 2020, HUSSEIN and Aimee Bock submitted

an application to enroll SAFE as a site in the Federal Child Nutrition Program under

the sponsorship of Feeding Our Future.

      26.     On or about March 4, 2021, ALI submitted meal count forms to Feeding

Our Future claiming that the Lido Restaurant served breakfast and lunch to

approximately 1,600 children a day, seven days a week, in February 2021.

      27.     On or about July 7, 2021, HUSSEIN submitted to Feeding Our Future

meal count forms claiming that the SAFE site served meals to approximately

2,500 children a day in June 2021. HUSSEIN also submitted fake invoices purporting

to document the purchase of food from a meal vendor as well as a fake attendance

roster purporting to identify the names of children who received meals at the

SAFE site.




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       28.    On or about July 21, 2021, ALI signed a vendor contract providing that

Lido Restaurant would receive Federal Child Nutrition Program reimbursement

funds for providing meals to be served at the SAFE site.

       All in violation of Title 18, United States Code, Section 371.

                          FORFEITURE ALLEGATIONS

       29.    Count 1 of this Information is incorporated by reference for the purpose

of alleging forfeiture pursuant to Title 18, United States Code, Section 981(a)(1)(C)

in conjunction with Title 28, United States Code, Section 2461(c), and pursuant to

Title 18, United States Code, Section 982(a)(1).

      30.     If convicted of any of Count 1 of this Information, the defendant shall

forfeit to the United States, pursuant to Title 18, United States Code,

Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c), any property,

real or personal, which constitutes or is derived from proceeds traceable to Count 1 of

the Information.

      31.     The property subject to forfeiture includes, but is not limited to:

       a.     The real property and all structures located at 1155 Willow Street
              South, Faribault, Minnesota;

       b.     The real property and all structures located at 1106 Shumway Court,
              Faribault, Minnesota; and

       c.     The real property and all structures located at 35 St. Marks Bay,
              Faribault, Minnesota.

       If any of the above-described forfeitable property is unavailable for forfeiture,

the United States intends to seek the forfeiture of substitute property as provided for

in Title 21, United States Code, Section 853(p) as incorporated by Title 18,




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United States Code, Section 982(b)(1) and Title 28, United States Code,

Section 2461(c).



Dated: March 10, 2023                     ANDREW M. LUGER
                                          United States Attorney

                                           /s/ Harry M. Jacobs
                                          JOSEPH H. THOMPSON
                                          HARRY M. JACOBS
                                          CHELSEA A. WALCKER
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                                          Assistant U.S. Attorneys




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